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                                                     U.S. Department of Justice

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                                                     September 17, 2021

Via Email

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                Re:   United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       We write to provide information regarding the above-captioned case in advance of next
week’s hearing, which is scheduled for 11:00 a.m. on Tuesday, September 21, 2021. As you are
aware, the Court is set to hear argument at that hearing on defendant Ethan Nordean’s Motion to
Dismiss (ECF 94), which was joined by defendant Joseph Biggs, who submitted briefing (ECF
105), and defendant Charles Donohoe (ECF 128).
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        In his motion, defendant Nordean sought dismissal of the conspiracy and substantive
charges in the First Superseding Indictment based on 18 U.S.C. § 231(a)(3) (civil disorder), which
makes it a crime to “commit[] or attempt[] to commit any act to obstruct, impede, or interfere with
any fireman or law enforcement officer lawfully engaged in the lawful performance of his official
duties incident to and during the commission of a civil disorder which in any way or degree
obstructs, delays, or adversely affects commerce or the movement of any article or commodity in
commerce or the conduct or performance of any federally protected function.” See ECF 94 at 36-
45.

        Defendant Nordean argued that that charges based on 18 U.S.C. § 231(a)(3) should be
dismissed because 18 U.S.C. § 231(a)(3) exceeded Congress’s authority under the Commerce
Clause. Id. at 36-42. In its opposition, the government noted (ECF 106 at 27-28) that defendant
Nordean’s Commerce Clause argument was misplaced, because the First Superseding Indictment
did not allege jurisdiction under the provision in that statute related to commerce—that is, the
prohibition of certain conduct “which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce.” 18 U.S.C. § 231(a)(3)
(the “commerce” provision). 1 Instead, as the government noted, the charges in the First
Superseding Indictment were based on allegations regarding acts or attempted acts adversely
affecting “the conduct or performance of any federally protected function” (the “federally
protected function” provision). ECF 106 at 27-28.

        The government hereby notifies defendants that the government reserves the right to allege
in any subsequent superseding indictment that the jurisdictional bases for alleged violations based
on 18 U.S.C. § 231(a)(3) include not only the “federally protected function” provision of the
statute, but also the “commerce” provision. Under 18 U.S.C. § 231(a)(3), “commerce” means
“commerce (A) between any State or the District of Columbia and any place outside thereof; (B)
between points within any State or the District of Columbia, but through any place outside thereof;
or (C) wholly within the District of Columbia.” See 18 U.S.C. § 232.

        The government is providing this information to the parties—and will also alert the Court
through a filing—to ensure the government’s position on this issue is clear and so that the parties
may address the issue as necessary at the upcoming hearing. It remains the government’s position
that the defendants’ motions to dismiss charges set forth in the First Superseding Indictment,
including arguments regarding the “federally protected function” provision, are ripe for oral
argument.




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     The government explained in a footnote in its opposition why defendant Nordean’s
Commerce Clause argument lacked merit. ECF 106 at 27 n.6.

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                                   Sincerely yours,

                                   CHANNING D. PHILLIPS
                                   ACTING UNITED STATES ATTORNEY

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